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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                               NORTHERN DISTRICT OF CALIFORNIA

                                   5
                                        IN RE:
                                   6                                                       Case No. 13-md-02420-YGR (DMR)
                                        LITHIUM ION BATTERIES ANTITRUST
                                   7    LITIGATION
                                                                                           ORDER TO SUBMIT EVIDENCE
                                   8                                                       CITED IN JOINT LETTER BRIEF
                                   9                                                       Re: Dkt. No. 764

                                  10

                                  11          The parties filed a joint letter brief in which Plaintiffs move to compel Defendants LG

                                  12   Chem Ltd. and LG Chem America, Inc. (“LG Chem”) to produce Seok Hwan Kwak for deposition
Northern District of California
 United States District Court




                                  13   and seek leave to move for sanctions against LG Chem. [Docket No. 764-3.] In the joint letter,

                                  14   the parties reference correspondence regarding Kwak’s deposition as well as evidence regarding

                                  15   his employment with and departure from LG Chem. By August 19, 2015, Plaintiffs shall submit a

                                  16   declaration or declarations attaching true and correct copies of the following materials for the

                                  17   court’s review in connection with the dispute:

                                  18                 copies of the written correspondence between counsel referenced on pages 2, 3, 7,

                                  19                  and 8 of the joint letter;

                                  20                 all cited portions of Kwak’s personnel file (LGC-MDL0005425E);

                                  21                 pages of Kwak’s LinkedIn profile cited on page 3 of the joint letter; and

                                  22                 Dokyun Kim’s July 22, 2015 declaration and all exhibits thereto.

                                  23          The court will determine whether a hearing on the matter is necessary after reviewing the

                                  24   requested materials.

                                  25          IT IS SO ORDERED.

                                  26   Dated: August 14, 2015
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                                  27
                                                                                                     Donna M. Ryu
                                  28                                                              United States Magistrate Judge
